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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                               FORT WORTH DIVISION

RONALD SUTHERLAND,                              §
(aka Ronald David Sutherland),                  §
             Plaintiff,                         §
                                                §
VS.                                             §          Civil Action No. 4:19-cv-216-O
                                                §
LANE AKIN, Sheriff,                             §
Wise County, Texas et al.,                      §
                                                §
                Defendants.                     §

                 ORDER GRANTING MOTION TO DISMISS CLAIMS
                        AGAINST DR. CHARLES TIBBELS

        In this case, plaintiff Ronald Sutherland has claims still pending against one defendant

Dr. Charles Tibbels. Sutherland has now filed both an “Advisory to Court” informing the Court

that the parties reached a settlement, and a separate motion to dismiss all claims against Dr.

Tibbels with prejudice. ECF Nos. 99 and 105. After review and consideration, that motion will

be granted.

        It is therefore ORDERED that Sutherland’s “Motion to Dismiss with Prejudice

Defendant Charles Tibbels, M.D.” (ECF No. 105) is GRANTED, such that all plaintiff

Sutherland’s remaining claims against Dr. Tibbels are DISMISSED with prejudice.1

        SO ORDERED this 2nd day of August, 2022.

                                                       _____________________________________
                                                       Reed O’Connor
                                                       UNITED STATES DISTRICT JUDGE
        1
          In the May 4, 2022 Memorandum Opinion and Order, the Court tabled Officer Gay’s request
that the Court make a determination that plaintiff Sutherland is a vexations litigant. Mem. Op. and Order
32, n. 9, ECF No. 92; Gay Mot. to Dism. 2–23, ECF No. 69. This Court acknowledged early in the case
that Sutherland, then a prisoner, was barred from proceeding in forma pauperis due to having three strikes
under 28 U.S.C. § 1915(g). Order 1-3, ECF No. 5. That remains applicable whenever Sutherland is a
prisoner at the time of filing suit. In this case, however, although the Court summarily dismissed many
claims under 28 U.S.C. § 1915A(b)(1), it also allowed Sutherland to obtain service of process on seven
defendants, and he then contested several dispositive motions, and ultimately was able to obtain a partial
recovery against one defendant. Thus, the Court determines that the request to deem Sutherland a
vexatious litigant arising from the resolution of this case (ECF No. 69), must be denied.
